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            -IN THE COURT OF THE FEDERAL DISTRICT OF SOUTH DAKOTA
Christopher William(Bruce)The Living Man                      Case # 19-4096

               Claimant

V.


Paul Tenhaken, Sean Kooistra, AAA                             AMENDED CLAIM
Collections, LLC.

                Defendants




I, Christopher William (Bruce), The Living Man,on this date, do bring action against Paul
Tenhaken, Sean Kooistra and AAA Collections for the purpose of claiming damage in fact in an
Article in court ofcommon law.

STANDING

The claimant has standing, in that he is no U.S. Citizen, but instead is a twice authenticated State
National ofthe Republic,in the Territory of South Dakota; a living breathing man and a "South
Dakotan;" and not a "Resident" ofthe corporate entities ofTHE STATE OF SOUTH DAKOTA,
INC., or THE CITY OF SIOUX FALLS,INC.

VENUE

As these events occurred in the territory of South Dakota, and the claimant lives in this territory,
as does the defending party, venue is located in this federal district.
JURISDICTION

This matter falls under the "Federal Question"jurisdiction; and subject matter falls under this
court, since the question concerns a conspiracy against the Constitutional rights ofthe claimant
(18 U.S.C. §241), and that attempts were made to deprive the claimant of his unahenable and
Constitutional rights using color oflaw(28 U.S.C. §1983). Also, a matter concerning the reach
ofthe 'Treedom ofInformation Act" is in question. It should also be noted that this matter has
gone as far as possible where the COUNTY OF MINNEHAHA INC. is concerned, as the State
court would not allow the claimant to file an action without a "State issued ID." The claimant
also claims and reserves his rights.
FACTS OF THE CASE

     1. On or around the date ofNovember 18*'', a message was submitted to Defendant
        Tenhaken,informing him that he and the claimants had a fiiend in common,and that this
        person knew his whole family. The claimant left this message as only a friendly heads up
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   that he and the defendant knew someone in common that the claimant respected, and that
   he guessed the defendant did too.

2. On November 20^,the claimant received a voicemail from a Sean Kooistra, asking the
   claimant to return his call.


3. Upon returning this call, Sean Kooistra proceeded to warn the claimant that he should no
   longer send such a personal message to Mr. Tenhaken, presenting that he intended to
   conspire with defendant Tenhaken to violate his inalienable right offree speech.

4. On or aroimd the date of March 10*^, 2019,the claimant sent several copies of a
   document to around 72 city workers, which included a quote of his that said; "I bet the
   first person to say "You can't fight city hall" was a person who worked for city hall who
   was tired of people fighting city hall all the time. I say, you can fight city hall, you just
   need a bigger gun, better bullets and harder armor. - Christopher, The Living Man"

5. On the date of March 12*^, the claimant received a voicemail from Sean Kooistra, asking
   the claimant to return the call.


6. On the same date, the claimant returned his call, and Sean Kooistra warned him to
   remove this quote from the document before sending it to anyone else, essentially
   presenting once again, that he intended to conspire with the defendant, Mr. Tenhaken,to
   violate the claimant's inalienable right offree speech.

7. On the date of or around December 29*^, 2018, a FOIA request question and answer
   sheet was submitted to "The City of Sioux Falls, Inc.,", a business run by Mr. Paul
   Tenhaken,its apparent Administrator; via email; asking for all information available on
   record for on a brand new technology currently being installed within the limits of"The
   City of Sioux Falls, Inc." - The 5G Cell Phone upgrade; and the plan to make Sioux Falls
   a "Smart City", as well as all information about its new LED lighting system.

8. On the date ofor around December 31®*, a return email was sent to the claimant, inferring
   that, in providing answer to the FOIA,the claimant could possibly incur some additional
   costs. The first was quoted as $.10/copy, and the 2^ at $7.50/hr. for "record searching,"
   as it is not at all described in any detail in"The City of Sioux Falls" ordinance of41.003;
   nor did it even appear as absolute that these service charges would occur. The statute
   reads, ver batum:


          "a. The following fees shall be paid for record search and
          production of documents for the public: Service:
          Photocopies/page@$0.10; Record Search/hour@$7.50"
           NOTE: This statute and its chapter do nothing to define these services at all.
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9. The claimant emailed back to "The City of Sioux Falls, Inc." an email, which only said:
   "That's fine. Go ahead."


10.T)n the date of approximately February 2,2019,the claimant received the answer to the
   request, in the form ofapproximately 12 pages of a printed reply letter($.10/copy x 12 =
   $1.20)and a small off-brand 8 GB thumb drive with approximately 20 varying files on it,
   of which 2 were possibly useful in my request(the contract for Verizon, and another like
   it). The answers to the specific questions asked in the FOIA request were largely not
   answered and fielded as not being the responsibility ofthe City's Council to answer; nor
   were any attempts made to direct the claimant to anywhere that he might find these
   answers. Included with this package was a bill as issued the claimant by"The City of
   Sioux Falls (Inc.)" in the amount of$115.82,for 14 hours of"Multi-Media Support", a
   term not described in this business's "codes",those quoted in billing the claimant; nor
   was this "support" mentioned as possibly chargeable at all in the corresponding emails.

11. On the date ofFebruary 8'*', 2019,the claimant sent payment and a letter to "The City of
   Sioux Falls, Inc." The claimant offered to settle this unlawful bill in the form ofthe only
   recently discoverable means of making this payment lawfully that he was aware of:
   coffee beans, at a rate of 1 whole bean per dollar, and which also included the full set of
   legal paperwork(in affidavit form,signed in blue and thumbprint in red, witnessed by the
   same); which fully explains this justifiable method of payment. All ofthis was sent to
   the address provided on the bill for "The City of Sioux Falls (Inc.)" via certified mail,
   with return receipt. The Claimant also added that he wanted a receipt marked "Paid in
   full" to be mailed to him. The package was delivered and signed on or around February
   1T^,2019.

12. Between the dates ofFebruary 11*'^, 2019 and the first date of a bill sent to the claimant's
   current address from AAA collections in the amount allegedly owed "The City of Sioux
   Falls, Inc.", no return ofthe claimant's payment was sent the claimant by mail; nor did
   the claimant ever receive mail indicating that the bill was not able to be paid in this
   maimer; nor did the claimant ever receive a subsequent follow-up for the original bill; nor
   was one ever mailed to or received by any occupying parties at his current home address.

13. On or arormd the approximate date of April 2,2019,the claimant then received the now
   $116 biU from AAA Collections, LLC,addressed to a dead corporate entity named
   CHRISTOPHER BRUCE; demanding payment ofthe bill, and threatening this entity
   with legal retributions.

14. On or arormd the date of4/16/2019, the claimant made an attempt to serve notice of
   Cease and Desist/Intent to file civil suit to the individual/defendant Paul Tenhaken's
   personal secretary. Upon approach to the office of Mr. Tenhaken at City Hall, he was
   identified mistakenly as'Mr. Bruce," and called over by the building's security officer
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     on duty at the time. Even though this has not been his name for 4 years, it used to be, and
     the claimant was sure the guard was on the lookout for him, since he had made his
     service attempt common knowledge. As he wanted the notice served, he humored him
     This person was, evidently, a person able to accept service on behalfofPaul Tenhaken,
     and he did so at this time, stating he would take them for him. The claimant then
     produced copy of all that he was giving the defendant at this time; and had the security
     officer sign the copies as "received" for the claimant's records. The man who accepted
     the notice was identified as Greg DeBoer, and this was confirmed via phone call
     information and by signature. He is allegedly a retired pohce officer, badge #622. The
     receipt for "Paid in full" was asked for again in this notice.

  15. On or around 4/24/2019, the claimants received a charge of now $120.90 from AAA
      Collections LLC,addressed to the same dead corporate entity as before(CHRISTOPHER
     BRUCE,ALL CAPS),and not the claimant.

  16. On or aroimd the date of5/6/2019, the claimant issued notice to cease and desist aU
     communications/intent to file civil action to the 2""^ defending party- AAA
     COLLECTIONS,LLC.,along with a letter disputing the validity of Mr. Tenhaken's bill.
     Attached with this notice was evidence ofthe aU that had transpired between the Living
     Man and "The City of Sioux Falls, Inc." concerning the matter they were attempting to
     collect. As ofthis date,there has been no response from the defendants Paul Tenhaken or
     AAA Collections, LLC.


GROUNDS FOR DAMAGE AND REQUEST FOR REMEDY:


     It was ruled in the Supreme Court ofthe United States that neither the UNITED
     STATES,INC., OR IT'S LESSER FRANCHISES,THE STATE OF SOUTH DAKOTA,
     INC,THE COUNTY OF MINNEHAHA INC.; and THE CITY OF SIOUX FALLS,
     INC. has any granted or legal authority to affect or enforce any corporate by-laws, rules,
     ordinances or statutes against; or punish as a result ofthe alleged "violation" ofthe
     aforementioned, on a designated State National(South Dakotan), A Living Breathing
     Man in common law, or a person with address in the Republic or the Territory of South
     Dakota; without his informed consent. According to the same ruling, all ofthese fictions
     are, and I quote,"Figments of our imagination."

    Also, there are currently no records in my current home state ofinformed, implied,
    presumed, or assumed consent made to the aforementioned, or any consent to be ruled by
    the bylaws(or entered into verbal or written agreements)between any ofthe afore
    entities and the claimant on file anywhere; save the email agreeing to the POSSIBLE
    charges that might be incurred ofthe claimant in answer to my FREEDOM OF
    INFORMATION ACT REQUEST; which it would appear is hardly free at all. Should
    the email conversation between an actor for the corporate fiction(The City Clerk) and the
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   claimant be somehow able to allow the court to construct an implied or verbal contract
   between the claimant and the 2 corporate fictions. Defendant Tenhaken and "The City of
   Sioux Falls;" know that, upon doing so, the claimant will then claim damage against the
   entity acting in that position as well,in that the terms and conditions implied in any
   subsequent responses(or, in this case, NON-responses)by those ofthis franchise were
   largely violated, since no answer was provided to most questions, no breakdown of work
   performance was given the claimant, and the work discussed and defined by City's
   ordinances did not match what the claimant was billed for. Furthermore, both the bill and
   its subsequent collection was addressed to CHRISTOPHER BRUCE,a dead corporate
   entity, an entity the claimant has not been for nearly 4 years now. Currently,there are no
   other fictions carrying any such active contracts or agreements with the claimant either.

   The claimant requests, therefore, as his remedy for the damage in fact by Paul Tenhaken
   including, but not limited to: unfair billing for almost no service that was either defined
   or rendered, the disregard ofthe payment made, costs that were incurred during these
   processes which are, but are not limited to: Mailing costs, printing costs; hours spent on
   legal documents and services,the claimant's valuable time (at the rate of$100/per hour),
   and the damage made to the claimant's credit score that occurred when Paul Tenhaken,
   for the 25% ofthis bill he received from AAA Collections, LLC for turning it over to this
   defendant for collecting, without additional attempts to re-collect his alleged "Bill;" did
   not send the payment sent in back to the claimant, did not present the claimant with
   additional notice ofthe amormt due; but instead tinned it over to defending party AAA
   Collections LLC;the claimant asks the court to grant the claimant the amount of$5,000
   in lawful currency, defined by the Constitution ofthe United States(Gold or silver) be
   paid the claimant,for the harm done to him and his good name,upon demand.

   For the damage incurred by AAA Collections; For the damage of harassment ofthis
   claimant on two separate occasions; on the basis of an unlawful attempt to extort FRN's
   from the claimant for no service rendered by the franchise business "The City of Sioux
   Falls;" and attempting to assign this debt to a debtor that does not exist using my
   residential mailing address; and utilizing the color oflaw and threats oflegal duress; the
   court is asked to award the plaintiffthe amount of$1000.00 in lawful Constitutional
   money(gold or silver)for pain and suffering, upon demand.

  For the damage incurred by Sean Kooistra, in the event that he attempted to deprive the
  claimant of his unalienable right to free speech using color oflaw on two separate
  occasions, and also for the crime of conspiring with defendant Tenhaken using legal
  duress,the claimant asks for $3,000 in lawful Constitutional money(gold or silver.),
  upon demand.

  The claimant would also ask this court to grant the claimant injunctive relief against the
  individual defendants,Paul Tenhaken and Sean Kooistra; in the form ofa one-way
  enforceable restraining order with negotiable conditions,to ensure the claimant no
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   actions ofretribution befall the claimant out of the defendants' likely vindictive feelings;
   those that may result from the decision that is sure to be made in this action in the
   claimant's favor.


   The clai            esented all the aforementioned in truth, to the best of his knowledge.

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                               fmnily of Bruce,a living man
                                                                 Date_^^
                             'ed,\vithout Prejudice



                            Cir\Li T:L/ l_J .                    Date
   Elizabefh Marie ofthe family of Bruce,a living woman
   Witness
